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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA



   JENNIFER MORRILL, individually and on           Case No. 1:22-cv-20955-DPG
   behalf of all others similarly situated,

                   Plaintiff,

   vs.

   LAKEVIEW LOAN SERVICING, LLC,

                  Defendant.


   EVELYN RIVERA, ALISHIA                          Case No.: 1:22-cv-20968-KMM
   CARTAGENA, and DOREEN ENDRESS, on
   behalf of themselves and all others similarly
   situated,

                   Plaintiffs,

   vs.

   LAKEVIEW LOAN SERVICING, LLC,

                  Defendant.


   JOHN MCMAHON, individually and on               Case No. 1:22-cv-20978-RNS
   behalf of all others similarly situated,

                   Plaintiff,

   vs.

   LAKEVIEW LOAN SERVICING, LLC,

                  Defendant.


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   ANDREW GUARINO, individually and on                 Case No. 1:22-cv-20981-CMA
   behalf of themselves and all others similarly
   situated


                   Plaintiff,

   vs.

   LAKEVIEW LOAN SERVICING, LLC,

                  Defendant.



   SHANNON THOMAS, individually and on                 Case No. 1:22-cv-20984-KMM
   behalf of all others similarly situated,

                   Plaintiff,

   v.

   LAKEVIEW LOAN SERVICING, LLC,

                  Defendant.


   RICHARD KUNZ, individually and on behalf            Case No. 1:22-cv-21003-MGC
   of all others similarly situated,

                   Plaintiff,

   LAKEVIEW LOAN SERVICING, LLC,

                   Defendant.


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   JOHNIE KIMBROUGH, individually and on             Case No. 1:22-cv-21044-JEM
   behalf of all others similarly situated,

                   Plaintiff,

   LAKEVIEW LOAN SERVICING, LLC,

                   Defendant.


   MATTHEW MYERS, individually and on                Case No. 1:22-cv-21054-DPG
   behalf of all others similarly situated,

                   Plaintiff,

   LAKEVIEW LOAN SERVICING, LLC,

                   Defendant.



       STIPULATION RE CONSOLIDATION OF ACTIONS AND APPOINTMENT OF
                          INTERIM CLASS COUNSEL

         WHEREAS, there are eight related proposed class actions pending in the Southern District

  of Florida: Morrill v. Lakeview Loan Servicing, LLC, Case No. 1:22-cv-20955-DPG (“Morrill”);

  Rivera, et al. v. Lakeview Loan Servicing, LLC, Case No. 1:22-cv-20968-KMM (“Rivera”);

  McMahon v. Lakeview Loan Servicing, LLC, Case No. 1:22-cv-20978-RNS (“McMahon”);

  Guarino v. Lakeview Loan Servicing, LLC, Case No. 1:22-cv-20981-CMA (“Guarino”); Thomas

  v. Lakeview Loan Servicing, LLC, Case No. 1:22-cv-20984-KMM (“Thomas”); Kunz v. Lakeview

  Loan Servicing, LLC, Case No. 1:22-cv-21003-MGC (“Kunz”); Johnie Kimbrough v. Lakeview

  Loan Servicing, LLC, Case No. 1:22-cv-21044-JEM (“Kimbrough”); and Matthew Myers v.

  Lakeview Loan Servicing, LLC, Case No. 1:22-cv-21054-DPG (“Myers”) (together, the “Related

  Cases”);




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            WHEREAS, Plaintiffs in the Related Cases (“Plaintiffs”) allege that Defendant Lakeview

  Loan Servicing, LLC (“Lakeview”) failed to secure sensitive information stored on its file servers

  and thus compromised millions of people’s personal information (the “Data Breach”);

            WHEREAS, Plaintiffs and Lakeview, by and through their respective counsel (together,

  the “parties”), have conferred and agree that consolidation is appropriate under Federal Rule of

  Civil Procedure 42(a) because the Related Cases involve common questions of law or fact,

  specifically, the cases name a common defendant, arise from the same Data Breach, and assert

  similar claims;

            WHEREAS, Plaintiffs agree that a streamlined process for the appointment of interim class

  counsel under Fed. R. Civ. P. 23(g)(3) will be beneficial to the effective prosecution of the class

  claims;

            WHEREAS, Lakeview agrees that consolidation is appropriate and that an early

  appointment of interim class counsel will be beneficial to its effective defense of these matters,

  and thus does not oppose consolidation under Fed. R. Civ. P 42(a) or the appointment of interim

  class counsel, while expressly reserving its right to oppose class certification;

            WHEREAS, the parties propose, subject to Court approval, that this action proceed on the

  following schedule:

     •      Counsel may file an individual or joint application for consideration as interim class

            counsel, as set forth in paragraph 7, below;

     •      Plaintiffs will file a Consolidated Complaint (“Complaint”) no later than 45 days following

            the appointment of interim class counsel; and

     •      Defendant will respond to the Complaint no later than 30 days following its filing;




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         NOW THEREFORE, the parties through their respective counsel and subject to the Court’s

  approval hereby stipulate that:

         1.     The following actions pending in this District shall be consolidated for all pre-trial

  purposes pursuant to Federal Rule of Civil Procedure 42(a) (hereafter the “Consolidated Action”):

              a. Morrill v. Lakeview Loan Servicing, LLC, Case No. 1:22-cv-20955-DPG;

              b. Rivera, et al. v. Lakeview Loan Servicing, LLC, Case No. 1:22-cv-20968-KMM;

              c. McMahon v. Lakeview Loan Servicing, LLC, Case No. 1:22-cv-20978-RNS;

              d. Guarino v. Lakeview Loan Servicing, LLC, Case No. 1:22-cv-20981-CMA;

              e. Thomas v. Lakeview Loan Servicing, LLC, Case No. 1:22-cv-20984-KMM;

              f. Kunz v. Lakeview Loan Servicing, LLC, Case No. 1:22-cv-21003-MGC;

              g. Johnie Kimbrough v. Lakeview Loan Servicing, LLC, Case No. 1:22-cv-21044-
                 JEM (“Kimbrough”); and

              h. Matthew Myers v. Lakeview Loan Servicing, LLC, Case No. 1:22-cv-21054-DPG.

         2.      All papers filed in the Consolidated Action must be filed under Case No. 1:22-cv-

  20955-DPG, the number assigned to the first-filed case, and must bear the following caption:

                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

                                                            Case No. 1:22-cv-20955-DPG

    In re Lakeview Loan Servicing Data

    Breach Litigation



         3.      The case file for the Consolidated Action will be maintained under Master File Case

  No. 1:22-cv-20955-DPG.

         4.      The Clerk is directed to administratively close the following related cases:



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                  a. Rivera, et al. v. Lakeview Loan Servicing, LLC, No. 1:22-cv-20968-KMM

                  b. McMahon v. Lakeview Loan Servicing, LLC, No. 1:22-cv-20978-RNS

                  c. Guarino v. Lakeview Loan Servicing, LLC, No. 1:22-cv-20981-CMA

                  d. Thomas v. Lakeview Loan Servicing, LLC, Case No. 1:22-cv-20984-KMM

                  e. Kunz v. Lakeview Loan Servicing, LLC, Case No. 1:22-cv-21003-MGC

                  f. Johnie Kimbrough v. Lakeview Loan Servicing, LLC, Case No. 1:22-cv-21044-
                     JEM

                  g. Matthew Myers v. Lakeview Loan Servicing, LLC, Case No. 1:22-cv-21054-
                     DPG

          5.      Any action subsequently filed, transferred, or removed to this Court that arises out

  of the same or similar operative facts as the Consolidated Action will be automatically

  consolidated with it 10 calendar days following the filing of that action. If any party objects to

  such consolidation or otherwise wishes to seek alternative relief, they shall do so before the

  expiration of that period.

          6.      The parties shall file a Notice of Related Cases pursuant to Civil L.R. 3-12

  whenever a case that should be consolidated into this action is filed in, or transferred to, this

  District. If the Court determines that the case is related, the clerk shall:

                  a. place a copy of this Order in the separate file for such action;

                  b. serve on plaintiff’s counsel in the new case a copy of this Order;

                  c. direct that this Order be served upon defendant(s) in the new case; and

                  d. make the appropriate entry in the Master Docket.

          7.      Any counsel who has filed an action in this Consolidated Action may file an

  individual or joint application for consideration as interim class counsel no later than fourteen (14)

  calendar days from the date of entry of the Court’s order approving this stipulation. Each attorney’s




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  individual or joint application shall not exceed ten (10) pages double-spaced addressing the factors

  set forth in Rule 23(g) and may include a firm resume(s). Counsel may file a two-page double-

  spaced response (including attachments), no later than five (5) business days from the filing

  deadline of the initial applications.

          8.      Plaintiffs will file the Consolidated Complaint no later than 45 days following the

  appointment of interim class counsel. Defendant will respond to the Complaint no later than 30

  days following its filing.

          9.      The parties will file a Joint Scheduling Report 21 days after the filing of the

  Consolidated Complaint.

               IT IS SO STIPULATED.

  Dated: April 7, 2022                              Respectfully submitted,
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on April 8, 2022, I caused the foregoing to be electronically filed with

  the Clerk of the Court for the United States District Court, Southern District of Florida, by using

  the CM/ECF system and served the foregoing by email to all counsel named above.



  Dated: April 8, 2022                          By_/s/ Daniel B. Rosenthal______
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